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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

    JOHN BOWMAN, et al.,                                )
                                                        )
                  Plaintiffs,                           )
                                                        )
          v.                                            )          Case No. 4:21-CV-1406 NAB
                                                        )
    ROBERT L. CHAMBERS, et al.,                         )
                                                        )
                  Defendants.                           )

                                   MEMORANDUM AND ORDER

         This matter is before the Court on the Bowman Plaintiffs’ 1 Motion to Dismiss or Sever

Arps Plaintiffs’ 2 Conspiracy Claim. (Doc. 23.) In the motion, the Bowman Plaintiffs move to

dismiss Count IV of the Arps Plaintiffs’ First Amended Complaint pursuant to Federal Rules of

Civil Procedure 20 and 21. Alternatively, the Bowman Plaintiffs move to sever the claim into a

separate action and stay that separate action pursuant to Rules 20(b) and 42(b). The Arps Plaintiffs

filed an opposition (Doc. 25) and the Bowman Plaintiffs filed a reply (Doc. 26). Defendants have

not filed a response, and the time to do so has passed. For the reasons discussed below, the Court

grants the motion.

         Background

         There are two sets of plaintiffs involved in this case: the Bowman Plaintiffs and the Arps

Plaintiffs. Each set of plaintiffs separately filed a lawsuit because the St. Louis County Council

Reapportionment Commission (“Reapportionment Commission”) failed to adopt or file a plan to

reapportion the boundaries of the St. Louis County Council districts (the “Districts”) before their


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  The “Bowman Plaintiffs” are Plaintiffs John Bowman, Karen Cloyd, Glenn Koenen, Susan Meredith, Tommie
Pearson, Jr., Dana Sandweiss and Brian Wingbermeuhle.
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  The “Arps Plaintiffs” are Plaintiffs Becky Arps, Rene Artman, Adam Bohn, Rita Heard Days, Edward Engler, Tim
Fitch, Mark Harder, Lisa Kaliski, Amy Poelker, June Schmidt, Kelly Stavros, Ernie Trakas, and Richard Wolfe.
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deadline on November 28, 2021. Each set of plaintiffs named the members of the St. Louis County

Board of Election Commissioners (“Board”) and/or the Board itself as Defendants (the “Board

Defendants”). On the motion of the Arps Plaintiffs, these cases were consolidated.

        The Bowman Plaintiffs are seven registered St. Louis County voters, each from one of the

seven Council Districts. The Bowman Complaint seeks a declaratory judgment against the Board

Defendants. 3 The Bowman Plaintiffs’ Complaint seek a declaration that the current Council

Districts are unequal in population and violate constitutional requirements. They also request that

the Court reapportion and redraw the Council Districts as soon as practicable and before candidacy

filing opens on February 22, 2022.

        The Arps Plaintiffs are thirteen registered voters in St. Louis County, including some

members of the Reapportionment Commission, and some elected representatives from the County

Council. Like the Bowman Complaint, the Arps Plaintiffs’ original complaint sought a declaratory

judgment against the Board Defendants. After filing their motion to consolidate the cases but

before receiving a ruling on the motion to consolidate, the Arps Plaintiffs filed a First Amended

Complaint. The First Amended Complaint added four plaintiffs, unnamed defendants, and a new

conspiracy claim. The Arps Plaintiffs’ First Amended Complaint contains four counts: Count I is

for a declaratory judgment against the Board Defendants; Count II is for application of the Voting

Rights Act against the Board Defendants; Count III is for enforcement of constitutional protections

against the Board Defendants; and Count IV is for conspiracy to interfere with civil rights against

John Doe Defendants 1 through 20 (the “Conspiracy Claim”). The John Doe Defendants have yet

to be identified.



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  The Board is sued nominally, inasmuch as the Board would violate County voters’ equal protection rights by
conducting the next Council elections using the current election maps drawn based on the 2010 Census. (Doc. 23 at
2.)

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       For ease of reference, the Bowman Plaintiffs’ claim and the Arps Plaintiffs’ claims in

Counts I through III of their Amended Complaint regarding the redrawing of district maps are

hereinafter referred to as the “Map Claims.”

       Motion to Dismiss or Sever

       In the motion to dismiss or sever, the Bowman Plaintiffs request that the Court dismiss the

Conspiracy Claim. They argue that the joinder of the Conspiracy Claim against the Doe

Defendants does not meet the requirements of Rule 20. They assert substantially different

discovery is involved in the Conspiracy Claims, and the legal issues presented by the Conspiracy

Claim are different than the issues in the Map Claim. Alternatively, if the Court does not sever and

dismiss the Conspiracy Claim under Rule 20, the Bowman Plaintiffs argue that the Court should

exercise its discretion to sever the Conspiracy Claim into a separate case and stay it until resolution

of the Map Claims.

       The Arps Plaintiffs resist the motion, arguing that the facts do not support dismissal or

severance. They argue that the Conspiracy Claim alleges a single occurrence with common

questions of law and fact and that there is a transactional link between Defendants such that joinder

is proper. Additionally, the Arps Plaintiffs argue that the Court should not exercise discretion to

sever the Conspiracy Claim because the aim of Rule 20 is to promote trial convenience and

expedite the final determination of disputes, thereby preventing multiple lawsuits.

       Legal Standards

       Federal Rule of Civil Procedure 20 governs “Permissive Joinder of Parties.” Pursuant to

Rule 20(a)(2), multiple defendants may be joined in a single lawsuit if “any right to relief is

asserted against them jointly, severally, or in the alternative with respect to or arising out of the

same transaction, occurrence, or series of transactions or occurrences” and “any question of law



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or fact common to all defendants will arise in the action.”

       Federal Rule of Civil Procedure 21 “Misjoinder and Nonjoinder of Parties” provides, “on

motion or on its own, the court may at any time, on just terms, add or drop a party.” The primary

function of Rule 21 is to cure the misjoinder or nonjoinder of parties. “In the absence of misjoinder

or nonjoinder, a court may issue an order pursuant to Rule 21 to structure a case for the efficient

administration of justice.” New Life Evangelistic Ctr., Inc. v. City of St. Louis, Mo., No. 4:15-CV-

00395-JAR, 2015 WL 2383499, at *11 (E.D. Mo. May 19, 2015); see also Stark v. Indep. Sch.

Dist. No. 640, 163 F.R.D. 557, 564 (D. Minn. 1995) (There is “an unarticulated premise that the

underlying purpose of Rules 19, 20 and 21 is to allow the district court itself to exercise its power

to align the parties and the issues presented in a single lawsuit in a way that will foster judicial

efficiency, while protecting parties against prejudice.”).

       In determining whether joinder is appropriate, the Court has wide discretion to order

separate trials, sever participants or claims, or order other relief to permit the just, speedy, and

inexpensive determination of the action. Mosley v. Gen. Motors Corp., 497 F.2d 1330, 1332 (8th

Cir. 1974).

       Discussion

       The Arps Plaintiffs have not shown that the joinder of the Doe Defendants and the Board

Defendants meets the requirements of Rule 20(a)(2). The Arps Plaintiffs cite two cases in support

of their contention that the Conspiracy Claim should not be dismissed. See ReFX Audio Software

Inc. v. Does 1-100, No. 4:12 CV 2095 RWS, 2013 WL 6190693 (E.D. Mo. Nov. 26, 2013); Priv.

Lenders Grp., Inc. v. Does 1-17, 294 F.R.D. 513 (E.D. Mo. 2013). Both cases involve whether

“swarm joinder” of doe defendants in copyright infringement cases is appropriate.

       In ReFX Audio Software Inc., the plaintiff copyright holder sued Does 1-100, alleging



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copyright infringement and identifying the doe defendants by their IP addresses. 2013 WL

6190693, at *1. The plaintiff alleged the doe defendants acted in concert when they joined a single

Bit Torrent 4 swarm to obtain and distribute copyrighted material. The court found that because

each defendant joined the swarm on different dates, at different times, and no allegation indicated

defendants exchanged copyrighted material with one another or even communicated with each

other, defendants’ conduct constituted separate and independent acts. Because any connection

between defendants was speculative, joinder under Rule 20(a) was not proper. Id. at *2. The court

determined that “[e]ven if joinder of the defendants in this action satisfied the requirements of Rule

20, I would exercise my discretion to sever in the interest of justice. Permitting joinder would

undermine Rule 20’s purpose of promoting fairness and judicial economy because it would result

in a logistically unmanageable case.” Id. The court severed and dismissed the claims of all but one

defendant. Id. at *3.

         In Priv. Lenders Grp., Inc., the plaintiff copyright holder sued seventeen doe defendants

for copyright infringement, claiming defendants shared its copyrighted motion picture and

identifying defendants by their IP addresses. 294 F.R.D. at 514. Similar to the ReFX Audio

Software Inc. court, the court in this case noted that each defendant engaged in the alleged

BitTorrent activity on different dates and times, and while it was possible that some defendants

obtained data from a preceding defendant, the connection between defendants was speculative,

and joinder was not appropriate under Rule 20(a). Id. at 516. The court severed and dismissed the

claims against all defendants except Doe 1. Id.

         These cases do not persuade the Court that the Doe Defendants are properly joined here.

Permissive joinder of defendants requires that (A) any right to relief asserted against defendants


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 BitTorrent is a file sharing program that can be used to obtain and distribute files. BitTorrent facilitates rapid sharing
of data files by organizing users into distribution networks known as “swarms.”

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arises out of the same transaction, occurrence, or series of transactions or occurrences, and (B) any

question of law or fact common to all defendants will arise in the action. Fed. R. Civ. P. 20(a)(2).

The Bowman Plaintiffs focus on the latter requirement, arguing that the legal issues presented in

the Conspiracy Claim differ from the legal issues presented in the Map Claims. The Arps Plaintiffs

respond that the Conspiracy Claim “plead[s] a single occurrence with common question of law

and fact, namely, whether the Doe Defendants conspired to interfere with protected constitutional

rights by interfering with the duties of the Reapportionment Commission to adopt a plan of

apportionment in compliance with the United States Constitution and the Missouri Constitution.”

(Doc. 25 at 2.) The Arps Plaintiffs’ argument does not explain how the Conspiracy Claim shares

questions of law and fact with the Map Claims. The Map Claims require the Court to determine

whether the existing districts are unconstitutional due to changes in population. 5 The relief sought

is a declaration that the existing map is unconstitutional, and for the Court to redraw district lines

so that the Board Defendants will utilize a new constitutional map for future elections. The Arps

Plaintiffs’ Conspiracy Claim requires a factfinder to determine whether the Doe Defendants

conspired to interfere with Plaintiffs’ constitutional rights by interfering with the duties of the

Reapportionment Commission to adopt a new map, including whether the Doe Defendants were

motivated by animus towards a particular class or group. The constitutionality of the map is a

separate issue from the conduct of unnamed parties in the events leading up to the

Reapportionment Commission’s failure to agree on a proposed map. These claims involve distinct

legal issues and underlying factual bases.

        Additionally, the Arps Plaintiffs have not explained how the Doe Defendants are

transactionally linked with the Board Defendants. The Arps Plaintiffs bring different claims and


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 It appears to be undisputed that the existing Districts, which were based on the population at the time of the 2010
Census, are now unconstitutional.

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seek different relief from the Board Defendants and the Doe Defendants. The limited allegations

regarding conspiracy to interfere with constitutional rights do not sufficiently identify a

transactional link between the two groups of defendants. “Permissive joinder should not be

permitted when it rests upon a pure legal fiction.” Priv. Lenders Grp., Inc. v. Does 1-17, 294 F.R.D.

513, 515 (E.D. Mo. 2013). Because any connection between the Board Defendants and the Doe

Defendants is speculative at this point, joinder of defendants under Rule 20(a) is improper.

           Even if joinder of the Conspiracy Claim against the Doe Defendants satisfied Rule 20, the

undersigned would sever the claim in the interest of promoting fairness and judicial economy.

“The purpose of the [joinder] rule is to promote trial convenience and expedite the final

determination of disputes, thereby preventing multiple lawsuits.” Mosley v. Gen. Motors Corp.,

497 F.2d 1330, 1332 (8th Cir. 1974) citing 7 C. Wright, Federal Practice and Procedure § 1652 at

265 (1972). “Single trials generally tend to lessen the delay, expense and inconvenience to all

concerned.” Id. The policies that Rule 20 intend to serve would not be served by joinder of the

Map Claims and the Conspiracy Claim. These claims will not be resolved in a single trial. The

Bowman Plaintiffs and the Arps Plaintiffs both sought an expedited schedule in an effort to resolve

the Map Claims before February 22, 2022. The Doe Defendants have yet to be identified, and

therefore were not a part of the expedited discovery. They have not had the opportunity to

participate in depositions, and the Arps Plaintiffs have not indicated they intend to name the Doe

Defendants prior to the February 1, 2022 bench trial proceeding on the Map Claims. Once the Doe

Defendants are identified, there will be a question of whether the unnamed defendants waive their

right to a jury trial as the Map Claims parties have done. There will also be a question of whether

the unnamed defendants consent to the undersigned’s jurisdiction pursuant to 28 U.S.C. §636(c). 6



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    If the Doe Defendants do not consent to magistrate judge jurisdiction, the case will be reassigned to a District Judge.

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These uncertainties may cause delay in a case that all parties agree should be expedited. Because

the Conspiracy Claim and the Doe Defendants’ defenses will require independent discovery,

possible dispositive motions, and a separate trial involving separate factual and legal issues,

severance is appropriate.

       Accordingly,

       IT IS HEREBY ORDERED that the Bowman Plaintiffs’ Motion to Dismiss or Sever

Arps Plaintiffs’ Conspiracy Claim is GRANTED. (Doc. 23.)

       IT IS FURTHER ORDERED that Doe Defendants 1-20 are severed from this action and

the claims against them are dismissed without prejudice.




                                                NANNETTE A. BAKER
                                                UNITED STATES MAGISTRATE JUDGE

Dated this 25th day of January, 2022.




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